The judgment of the judge of the superior court reversing the award of the single director denying compensation was correct and is affirmed.
         DECIDED APRIL 15, 1948. REHEARING DENIED MAY 13, 1948.
J. A. Benford filed his claim with the State Board of Workmen's Compensation, seeking to recover for the loss of the vision in his right eye which was the result of an injury received on September 28, 1946, while in the employ of the Fort Mountain Lumber Company. The employment, the accident, and the injury were admitted by counsel for the American Mutual Liability Insurance Company, the insurance carrier, who defended against the claim, but it was denied that the injury arose out of and in the course of the employment. It appeared from the evidence adduced upon the hearing before a single director that the claimant was employed by the lumber company as a mailing-machine operator and was on the day of the injury engaged in nailing "top back frames" or end sections of boxes which were being manufactured. The operation consisted in feeding quarter-inch laths into the nailing machine at right angles, setting them, and nailing them together with the machine. The laths were brought to the claimant on a "dolly" or "buggy" from which he took them as his work progressed. The nailing machine consisted of a working surface or table on which the nailing mechanism was mounted and wooden guide rails used to guide the laths into the machine and prevent the box frame from "wiggling." The guide rails extended beyond the edge of the working surface to a distance which was dependent upon the nature of the operation being carried on, and were on the day of the injury extending some little distance from the edge of the work *Page 94 
table. The edges of the guide rails were not beveled. The corners of the rails were not rounded, nor was there any padding on the end of the rails to protect the claimant from the sharp edges and corners of the guide rails. It appeared that the claimant was in the performance of his duty at the time of the injury and was either leaning over to pick up laths from the buggy or raising some of the laths from the buggy when something slapped him on the left side of the face causing him to jerk his head and strike his head and right eye against the guide rail. The claimant thought some one had thrown something at him which had struck him in the face. Another employee, without comment, pointed to a boy operating or "tailing" a power saw located to the rear of the nailing machine or back of the place where the claimant stood in the performance of his duties. The boy at whom the other employee had pointed was named Secress. The claimant went to Secress concerning the matter and the boy would neither admit nor deny that he had thrown an object at the claimant. The matter was reported to the superintendent who warned Secress that if he caught him throwing objects at other employees he would dismiss him. The injury to the claimant occurred on Saturday and without explanation the Secress boy did not return to work on Monday following the accident. It appeared that the claimant was totally disabled from October 12 to November 20 and was making more money, or earning more salary, after the accident than he did before the accident as a result of a general increase in pay for the employees. A fellow employee of the claimant, W. E. Hobgood, testified that he saw Secress throw two or three blocks of wood toward the claimant's machine, but that he did not see the blocks strike the claimant. He also testified that throwing blocks of wood was no part of Secress's duties, and that he did not know that Secress was throwing at any particular person. Counsel for the insurance company stated for the record that the size block which Hobgood testified had been thrown was about three quarters of an inch thick by an inch and a half long. William Keith, the claimant's assistant in the operation of the nailing machine, testified that he saw a block of wood strike the claimant on the face as he was bending over for some stock used in their nailing operations; and that the claimant jerked his head around so that his right *Page 95 
eye struck the guide rail on the nailing machine. Secress was present at the hearing but did not testify concerning the occurrence. The single director found as a matter of fact and concluded as a matter of law that the claimant was "injured as a result of a fellow employee throwing a small block of wood or piece of wood and hitting the said Jack A. Benford on the right side of his face near the right eye, the injury being caused by said fellow employee, and not in connection with the duties of his employment or that of the claimant," and denied compensation. On appeal to the Superior Court of Murray County the award was reversed and the insurance carrier excepted.
The evidence demands the finding that the claimant was struck on the left side of his face and that the lick caused him to jerk his head as a result of which his right eye was injured by his striking it against the guide rail of the machine which he was operating. In the absence of any evidence showing wilfulness or malice on the part of the boy who threw the object, it will be presumed that it was thrown without malice and in a spirit of fun or "horseplay." There is no evidence that the injured employee participated in the horseplay. This leads us squarely to the question whether an injury from horseplay of a fellow employee which is caused or contributed to in part by the employment of the one injured where the injured employee does not participate in the horseplay is compensable. We are aware of no case in this State which has held that an injury under the circumstances of this case is not compensable. There are those which hold that an employee who participates in the horseplay is not entitled to compensation. Georgia Casualty Co. v. Martin,157 Ga. 909 (122 S.E. 881); Maddox v. Travelers Ins. Co.,39 Ga. App. 690 (148 S.E. 307); Givens v. Travelers Ins.Co., 71 Ga. App. 50 (30 S.E.2d 115). Under the Workmen's Compensation Law, an employee is entitled to compensation for injuries from accidents arising out of and in the course of the employment; that is, for such occurrences as might have been reasonably contemplated by the employer as a risk naturally incident to the nature of the employment, or such as, after the event, might be seen to have had their origin in a risk connected *Page 96 
with the business of the employment, and to have arisen out of and flowed from that source as a natural consequence. Keen v.New Amsterdam Casualty Co., 34 Ga. App. 257 (129 S.E. 174). "The injuries suffered . . need not be of the kind anticipated by the employer or peculiar to the employment." Pacific Employers Insurance Co. v. Industrial Accident Commission,26 Cal. 2d, 286 (158 P.2d 9, 159 A.L.R. 313). Although it seems that the weight of authority denies compensation to participants in horseplay, the courts seem to be evenly divided upon the rights of a nonparticipant. "Better reasoned and more aware of the realities of employment are those decisions holding that a nonparticipant is entitled to compensation if at the time of injury he was attending strictly to his duties." Pacific Employers Insurance Co. v. Industrial Accident Commission, supra, and cases cited. In the Matter of Leonbruno v. Champlain Silk Mills, 229 N.Y. 470 (128 N.E. 711, 13 A.L.R. 522), the court through Judge Cardozo stated: "The claimant while engaged in the performance of his duties in the employer's factory was struck by an apple which one of his fellow servants, a boy, was throwing in sport at another, and as a consequence lost the better part of the sight of one eye. He did not participate in the horseplay, and had no knowledge of it till injured. . . That it arose `in the course of employment' is unquestioned. That it arose `out of' employment, we now hold. The claimant's presence in the factory in association with other workers involved exposure to the risk of injury from the careless acts of those about him. . . Whatever men and boys will do, when gathered together in such surroundings, at all events if it is something reasonably to be expected, was one of the perils of his services. . . `For workmen of that age or even of maturer years to indulge in a moment's diversion from work to joke with or play a prank upon a fellow workman, is a matter of common knowledge to every one who employs labor.' The claimant was injured, not merely while he was in a factory, but because he was in a factory, in touch with associations and conditions inseparable from factory life. . . The risks of injury incurred in the crowded contacts of the factory through the acts of fellow workmen are not measured by the tendency of such acts to serve the master's business. Many things that have no such tendency are done by workmen every *Page 97 
day. The test of liability under the statute is not the master's dereliction. . . The test of liability is the relation of the service to the injury, of the employment to the risk." In the case of Hartford Accident  Indemnity Co. v. Cardillo, 72 App. (D.C.), 52, 112 Fed. 2d, 11, 14, the court stated: "Nor is it necessary . . that the particular act or event which is the immediate cause of the injury be itself part of any work done for the employer by the claimant or others. . . The statutory abolition of common law defenses made easy recognition of the accidental character of negligent acts by the claimant and fellow servants. . . But these extensions require a shift in the emphasis from the particular act and its tendency to forward the work to its part as a factor in the general working environment. The shift involved recognition that the environment includes associations as well as conditions, and that associations include the faults and derelictions of human beings as well as their virtues and obediences. Men do not discard their personal qualities when they go to work. Into the job they carry their intelligence, skill, habits of care and rectitude. Just as inevitably they take along also their tendencies to carelessness and camaraderie, as well as emotional make-up. In bringing men together, work brings these qualities together, causes frictions between them, creates occasions for lapses into carelessness, and for fun-making and emotional flare-up. Work could not go on if men became automatons repressed in every natural expression. `Old Man River' is a part of loading steamboats. These expressions of human nature are incidents inseparable from working together. They involve risks of injury and these risks are inherent in the working environment. . . So long as the claimant is merely the victim, not a participant, it makes little difference whether the fighting is by fellow employees or strangers to the work or what is the immediate occasion for the dispute. The same is true in horseplay. It is sufficient that the work brings the claimant within the range of peril by requiring his presence there when it strikes."
As Horovitz has observed in his Assaults and Horseplay Under Workmen's Compensation Laws, 46 Ill. L. Rev. pp. 311-367, the victims of "horseplay," "larking," or "fooling," under the *Page 98 
workmen's compensation laws have generally been employees falling into one of the three following categories: (1) the innocent employee who was minding his own business and performing his designated duties when injured by the horseplay of a fellow employee; (2) the employee who did not initiate the horseplay but was forced into participation and was injured as a result; and (3) the employee who not only participated but initiated the horseplay which resulted in his own injury. The extent to which the various jurisdictions have gone in permitting or denying compensation in horseplay cases under the workmen's compensation laws has varied from a denial of compensation in all horseplay cases to permitting the payment of compensation to employees in all three of the categories, with some States permitting compensation in the first two categories or only in the first category. In this State the claimants in the cases of GeorgiaCasualty Co. v. Martin, 157 Ga. 909. (supra), Givens v.Travelers Ins. Co., 71 Ga. App. 50 (supra), and Maddox v.Travelers Ins. Co., 39 Ga. App. 690 (supra), were found by the Workmen's Compensation Board to belong to the last or aggressor category and they were denied compensation. We can call to mind no case in this State involving a claimant in the second category. Though the records in United States Fidelity Guaranty Co. v. Green, 38 Ga. App. 50 (142 S.E. 464), andYoung v. Liberty Mutual Ins. Co., 68 Ga. App. 843
(24 S.E.2d, 594), disclose that the claimants in those cases were innocent of any participation in the horseplay and were in the course of their employments at the time they were injured, this court reversed the award granting compensation in the Green
case, and affirmed the award denying compensation in the Young
case. Those two cases are, in principle, in conflict with the view which we now take; namely, the injury of an innocent employee in the course of his employment by the horseplay of a fellow employee, in which the injured employee did not participate, arises out of the employment and nothing more appearing, is compensable. Insofar as the Young case and theGreen case conflict with this ruling, they are expressly overruled.
Under the terms of the act of the General Assembly, approved March 8, 1945 (Ga. L. 1945, p. 232), this case was considered and *Page 99 
decided by the court as a whole and the judgment of the superior court reversing the award denying compensation is affirmed.
Judgment affirmed. Sutton, C. J., MacIntyre, P. J., Gardner,Parker, and Townsend, JJ., concur.